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                          IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS


United States of America,

                       Plaintiff,

v.                                                         Case No. 03-20013-JWL

James Gaskin,

                       Defendant.


                                              ORDER

          On April 7, 2005, the court entered an order denying Mr. Gaskin’s motion to vacate, set

aside or correct his sentence pursuant to 28 U.S.C. § 2255. Mr. Gaskin has now filed a notice of

appeal.    While it is not entirely clear from Mr. Gaskin’s notice whether he intends to appeal the

court’s denial of his § 2255 motion or whether he is pursuing a direct appeal of his sentence, the

court, out of an abundance of caution, considers whether it is appropriate to grant a certificate of

appealability (COA) on any issues raised in Mr. Gaskin’s § 2255 motion. See Saiz v. Ortiz, 392

F.3d 1166, 1171 n.3 (10th Cir. 2004) (construing notice of appeal as an application for a COA

because a COA is a prerequisite to appealing the denial of a habeas petition). As explained below,

the court declines to grant a COA.

          A COA should issue if the applicant has “made a substantial showing of the denial of a

constitutional right,” 28 U.S.C. § 2253(c)(2), which the Circuit has interpreted to require that the

“petitioner must demonstrate that reasonable jurists would find the district court’s assessment of

the constitutional claims debatable or wrong.” See id. (quoting Tennard v. Dretke, 124 S. Ct.
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2562, 2569 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000))).                       In his § 2255

motion, Mr. Gaskin sought to have his sentence vacated in light of the Supreme Court’s decision

in Blakely v. Washington, 124 S. Ct. 2531 (2004).                   Recent Tenth Circuit precedent clearly

establishes that he is not entitled to a COA on this issue as Blakely does not apply retroactively

to Mr. Gaskin’s motion and has no bearing on his sentence. See United States v. Price, 400 F.3d

844, 845 (10th Cir. 2005) (denying motion for rehearing from panel’s decision denying

application for COA where habeas petition sought to vacate sentence based on Blakely and Blakely

did not apply retroactively to initial § 2255 motions for collateral relief).

        For the foregoing reason, the court declines to issue a certificate of appealability.




        IT IS SO ORDERED this 27th day of October, 2005.




                                                             s/ John W. Lungstrum
                                                             John W. Lungstrum
                                                             United States District Judge




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